UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

NADINE GIBSON, CV 15-6973

Plaintiff, AMENDED COMPLAINT

-against-

JURY TRIAL DEMANDED

THE CITY OF NEW YORK, NEW YORK
POLICE DEPARTMENT POLICE OFFICER
KENNETH SHIELDS, SHIELD #28109 of the 61*
PRECINCT; SERGEANT VLAD KOGAN,
SHIELD # 019999 of 105th PRECINCT;

POLICE OFFICER SERGY ZVONIK SHIELD
#30494of the 79th PRECINCT

Ne Ne Ne ee eee

Defendants,

 

Plaintiff NADINE GIBSON, by her attorneys, FIGEROUX & ASSOCIATES, hereby
brings this action under 42 U.S.C. § 1983 to redress her civil and legal rights, and alleges as

follows:

PRELIMINARY STATEMENT

1. This is a civil rights action in which the plaintiff, NADINE GIBSON, seeks relief for
the Defendants' violations of her rights secured by the Civil Rights Act of 1871, 42
U.S.C. § 1983, by the United States Constitution, including its First, Fourth and
Fourteenth Amendments, and by the laws and Constitution of the State of New York.
Plaintiff seeks compensatory and punitive damages, an award of costs, interest and

attorney's fees, and such other and further relief as this Court deems just and proper.

JURISDICTION AND VENUE
2. This action is brought pursuant to, and the First, Fourth and Fourteenth Amendments
of the United States Constitution, 42 U.S.C. §§ 1983 and 1988 States Constitution.
Jurisdiction is conferred upon this Court by 28 U.S.C. §§ 1331 and 1343, this being
an action seeking redress for the violation of the Plaintiffs' constitutional and civil
rights.

3. Plaintiff further invokes this Court's supplemental jurisdiction, pursuant to 28 U.S.C.
§ 1367, over any and all state law claims and as against all parties that are so related
to claims in this action within the original jurisdiction of this court that they form part
of the same case or controversy.

4. Venue in this District is proper under 28 U.S.C. § 1391(b) and (c) in that Defendant
CITY OF NEW YORK is administratively located within the Eastern District of New
York, and the events giving rise to this claim occurred within the boundaries of the
Eastern District of New York.

JURY TRIAL DEMANDED

5. Plaintiff demands a trial by jury on each and every one of her claims as pleaded
herein.

PARTIES

6. At all times relevant to this action, Plaintiff NADINE GIBSON was a resident of
Kings County New York. She is currently a resident of Fayette County, Georgia.

7. That at all times hereinafter mentioned, the defendant, CITY OF NEW YORK,
hereinafter referred to as “CITY”, was and still is a municipal corporation organized

and existing under and by virtue of the laws of the State of New York.
8.

10.

11.

That at all times hereinafter mentioned the defendant, NEW YORK CITY POLICE
DEPARTMENT, hereinafter referred to as “NYPD”, was and is an agency of the
defendant, CITY.

Defendant CITY is and was at all times relevant herein a municipal entity created and
authorized under the laws of the State of New York. It is authorized by law to maintain
a police department which acts as its agent in the area of law enforcement and for
which it is ultimately responsible. Defendant CITY assumes the risks incidental to the
maintenance of a police force and the employment of police officers. Defendant CITY
was at all times relevant herein the public employer of Defendants, KENNETH
SHIELDS, VLAD KOGAN and SERGY ZVONIK are and were at all times relevant
herein duly appointed and acting officers, servants, employees and agents of the New
York City Police Department, a municipal agency of Defendant CITY.

At all times relevant herein, the individual defendants were acting under color of the
laws, statutes, ordinances, regulations, policies, customs and/or usages of the State of
New York and the NYPD, in the course and scope of their duties and functions as
officers, agents, servants, and employees of Defendant CITY, and on behalf of, and
with the power and authority vested in them by the CITY and the NYPD, and were
otherwise performing and engaging in conduct incidental to the performance of their
jawful functions in the course of their duties. They are sued individually and in their
official capacity.

By the conducts, acts, and omissions complained of herein, Defendants KENNETH
SHIELDS, VLAD KOGAN and SERGY ZVONIK violated clearly established

constitutional standards under the First, Fourth, and Fourteenth Amendments to the
12.

13.

14.

15.

16.

United States Constitution of which a reasonable police officer under the
circumstances would have known.

STATEMENT OF FACTS
Upon information and belief, at all times hereinafter mentioned, and on April 1, 2014,
at approximately 6:35 p.m., the above mentioned Police Officers were acting within
the scope of their employment and under the direction of the CITY and NYPD as its
agents, servants and/or employees.
That on and prior to April 1, 2014, Defendants KENNETH SHIELDS, VLAD
KOGAN and SERGY ZVONIK were each individually hired, screened, tested,
interviewed, trained, retrained, investigated, monitored and supervised by the CITY
and NYPD.
That on and prior to April 1, 2014, at approximately 6:35 p.m., and all relevant times
herein after, Defendants KENNETH SHIELDS, VLAD KOGAN and SERGY
ZVONIK individually and/or collectively were acting pursuant to and under the rules
and regulations of the New York City Patrol Guidelines.
That on April 1, 2014, at approximately 6:35 p.m., Plaintiff NADINE GIBSON was
lawfully in the vicinity of Linden Boulevard, between Brooklyn Avenue and East 34th
Street in Brooklyn, New York and doing nothing illegal, improper or acting suspicious
in anyway.
That on the evening of April 1, 2014, at approximately 6:35 p.m. on Linden Boulevard,
between Brooklyn Avenue and East 34" Street in Brooklyn, New York, the Plaintiff,
NADINE GIBSON, was ordered by the Defendant, KENNETH SHIELDS, to stop her

vehicle by reason of an alleged traffic violation. The Plaintiff presented her driver’s
17.

18.

19.

20.

21.

license registration and insurance information to Defendant, POLICE OFFICER
KENNETH SHIELDS.

That on April 1, 2014, at approximately 6:35 p.m., in the vicinity of Linden Boulevard,
between Brooklyn Avenue and East 34th Street in Brooklyn, New York, Defendants
KENNETH SHIELDS, VLAD KOGAN and SERGY ZVONIK, absent an arrest
warrant, probable cause, reasonable cause or any legal justification, approached
Plaintiff NADINE GIBSON and summarily stopped, frisked, searched, grabbed,
assaulted, battered, and detained her in an aggressive and excessive manner.

Upon information and belief Defendants KENNETH SHIELDS, VLAD KOGAN and
SERGY ZVONIK knew or had reason to know that their actions lacked any legal
justification in searching, seizing and arresting Plaintiff NADINE GIBSON.

The Defendants, KENNETH SHIELDS, VLAD KOGAN, and SERGEY ZVONIK,
for no legitimate reason assaulted, falsely arrested, maliciously prosecuted, unlawfully
and falsely imprisoned the Plaintiff, NADINE GIBSON.

While arresting the Plaintiff, Defendant SHIELD caused the Plaintiff's clothing to be
torn, thereby causing Plaintiff's breast and intimate apparels to be exposed to the
public, which was an excessive and unnecessary use of force, abuse of authority, and
discourtesy.

While in police custody, the Plaintiff, NADINE GIBSON, was escorted to a medical
facility in handcuffs to be treated for personal injuries she sustained as result of the
forceful contact at the instance of the Defendants. While at the hospital, the Plaintiff
complained to Police Officer, “JANE DOE” that the tightened handcuffs were causing

her to suffer severe pain and discomfort to her arms and shoulder. Police Officer
22.

23.

24.

25.

26.

“JANE DOE”, whose name is more particularly known to the Defendants responded
stating in words to the effect that “it’s too bad you’re not a DOA, they don’t complain.”
Police Officer “JANE DOE” acted in an excessive and unnecessary manner, with
abuse of authority, discourtesy, and offensive language.

That Plaintiff NADINE GIBSON was arraigned after his arrest and thereafter falsely
and maliciously prosecuted with committing a crime and other related offenses.
Thereafter, Plaintiff NADINE GIBSON was required to make numerous court
appearances over an extended period of time.

Plaintiff NADINE GIBSON sustained physical and emotional pain and injuries as a

result of this incident.

AS AND FOR A FIRST CAUSE OF ACTION ON BEHALF OF PLAINTIFF

NADINE GIBSON

Plaintiff NADINE GIBSON repeats, reiterates and realleges each and every allegation
contained in paragraphs numbered 1-24 with the same force and effect as if fully set
forth at length herein.

That on or about April 1, 2014, at approximately 6:35 p.m., the Plaintiff NADINE
GIBSON was without just cause, probable cause or provocation, and with reckless,
negligent and callous disregard for the truth, and without investigation, touched,
grabbed, handcuffed, seized and arrested in an excessive manner and with excessive

force by CITY, NYPD, KENNETH SHIELDS, VLAD KOGAN, and SERGEY
27.

ZVONIK, their agents, servants and/or employees, and in particular, by KENNETH
SHIELDS, VLAD KOGAN, and SERGEY ZVONIK.

That on or about April 1, 2014, at approximately 6:35 p.m., the Plaintiff NADINE
GIBSON was lawfully in the vicinity of Linden Boulevard, between Brooklyn Avenue
and East 34th Street in Brooklyn, New York, was without just cause, probable cause
or provocation, maliciously, intentionally deprived Plaintiff NADINE GIBSON of her

dignity.

28. That at all times hereinafter mentioned the actions of CITY, NYPD, KENNETH

29.

30.

31.

SHIELDS, VLAD KOGAN, and SERGEY ZVONIK as described above were carried
out in a reckless, deliberate, willful, wanton, malicious and grossly negligent manner.
That by reason of the foregoing, Plaintiff NADINE GIBSON has been damaged in an

amount that exceeds the jurisdictional limits of all lower trial courts of this state.

AS AND FOR A SECOND CAUSE OF ACTION ON BEHALF OF PLAINTIFF

NADINE GIBSON

Plaintiff NADINE GIBSON repeats, reiterates and realleges each and every allegation
contained in paragraphs numbered 1-29 with the same force and effect as if fully set
forth at length herein.

That the CITY, NYPD, their agents, servants and employees were negligent, careless
and reckless in hiring, retaining, training, monitoring, retraining, supervising and
promoting its employees including but not limited to KENNETH SHIELDS, VLAD

KOGAN, and SERGEY ZVONIK, in that said police officers, as employees of CITY
32.

33.

34.

35.

and NYPD, were not qualified to be hired or retained or promoted as police officers,
lacked the experience, skill, training and ability to be employed, retained and utilized
in the manner that each was employed by CITY and NYPD.

The above described events and unnecessary and unreasonable use of force against
the Plaintiff NADINE GIBSON was the result of the policies, practices and customs
of the CITY and NYPD to inadequately supervise and discipline law enforcement
officers who use excessive force, and to inadequately train law enforcement officers
on the use of force and proper police conduct under the circumstances such as existed
at the time of the events described in this pleading.

That the CITY and NYPD failed to exercise due care and caution in its hiring,
retaining, training and/or promoting practices in that CITY and NYPD failed to
adequately test, analyze test results, and/or investigate above mentioned police
officers backgrounds and performances.

That the CITY and NYPD failed to exercise due care and caution in its hiring,
retaining, training and/or promoting practices in that CITY and NYPD failed to
adequately test, analyze test results, and/or investigate above mentioned police
officers backgrounds and performances.

That the CITY and NYPD failed to exercise due care and caution in its hiring,
retaining, training and/or promoting practices in that CITY and NYPD failed to
adequately screen said police officers, failed to adequately monitor said police
officers, and failed to adequately discipline said police officers when they violate

Patrol Guidelines.
36. Defendant CITY and NYPD were also negligent in that prior to and at the time of

37.

38.

the acts complained of herein, due to the prior history of the police officer
defendants named herein, knew or should have known of the bad disposition of said
defendants, or at the very least had knowledge of facts that would put a reasonably
prudent employer on inquiry concerning their bad disposition and the fact that
defendant police officers were not suitable to be hired and employed by the CITY
and NYPD and that due to their lack of training, these officers should have had
adequate supervision so that they would not arrest innocent individuals nor use
excessive force during the arrest process.

The inadequate training, supervision and discipline of police officers by the CITY
and NYPD has led to the unnecessary and illegal use of excessive force such as that
which occurred on April 1, 2014. The failure of police officers to intervene and
protect private citizens when their fellow police officer while in their presence
engages in excessive force such as that which occurred on April 1, 2014, and the
failure of police officers to report the illegal activity of their fellow police officers
such as occurred regarding the events of April 1, 2014.

The policy, practice and custom of the CITY and NYPD with respect to the standard
set forth by the NYPD patrol guide do not adequately guide officer behavior. At the
street-level a police officer’s response and discretion are guided by discretionary
factors which include the cues police officers receive from the management level
concerning the implementation of a particular norm, such as police orders and

special training.
39. That by reason of the above, the Plaintiff NADINE GIBSON was injured in mind
and body as she was arrested, prosecuted and rendered sick, sore, and damaged.

40. That at all times hereinafter mentioned the actions of CITY, NYPD and all
defendants herein as described above were carried out in a reckless, deliberate,
willful, wanton, and malicious manner.

41. That by reason of the foregoing, Plaintiff NADINE GIBSON has been damaged in

an amount that exceeds the jurisdictional limits of all lower trial courts of this state.

AS AND FOR A THIRD CAUSE OF ACTION ON BEHALF OF PLAINTIFF

NADINE GIBSON

42. Plaintiff NADINE GIBSON repeats, reiterates and re-alleges each and every

allegation contained in paragraphs numbered 1-41 with the same force and effect as if

fully set forth at length herein.
43. In arresting Plaintiff NADINE GIBSON, police officers including but not limited to
KENNETH SHIELDS, VLAD KOGAN, and SERGEY ZVONIK, acting in their
capacity as agents, servants and employees of CITY and NYPD, were motivated by
an ulterior purpose to do harm, without justification or economic or social excuse.

_ In arresting Plaintiff NADINE GIBSON, police officers including but not limited to

KENNETH SHIELDS, VLAD KOGAN, and SERGEY ZVONIK, acting in their

capacity as agents, servants and employees of CITY and NYPD, sought either a

detriment to Plaintiff NADINE GIBSON or a collateral advantage to the CITY and

NYPD that is outside the legitimate ends of effectuating an arrest.
45.

46.

47,

48.

49.

Asa result of the abuse of process by defendants herein, Plaintiff NADINE GIBSON
sustained multiple injuries including but not limited to loss of liberty, emotional
distress, and humiliation, loss of enjoyment of life, and fear and intimidation for her
safety.

That at all times hereinafter mentioned the actions of CITY, NYPD and all defendants
herein as described above were carried out in a reckless, deliberate, willful, wanton,
and malicious manner.

That by reason of the foregoing, Plaintiff NADINE GIBSON has been damaged in an

amount that exceeds the jurisdictional limits of all lower trial courts of this state.

AS AND FOR A FOURTH CAUSE OF ACTION ON BEHALF OF PLAINTIFF

NADINE GIBSON

Plaintiff NADINE GIBSON repeats, reiterates and realleges each and every allegation
contained in paragraphs numbered 1-47 with the same force and effect as if fully set
forth at length herein.

That on April 4, 2014 at approximately 6:35 p.m., within the vicinity of Linden
Boulevard, between Brooklyn Avenue and East 34th Street in Brooklyn, New York,
the CITY and NYPD were present through its agents, servants and/or employees
including but not limited to KENNETH SHIELDS, VLAD KOGAN, and SERGEY
ZVONIK who were acting in the course of their employment and under the color of
law to wit: the statutes, ordinances and regulations, policies and customs and usage of

the State of New York and/or City of New York.
50.

51.

52.

53.

54.

That Plaintiff NADINE GIBSON was lawfully in the above vicinity at the above time
when she was stopped, questioned, searched and seized solely on the basis of her age
and/or race and for no legal or legitimate reason.

That said illegal stop and seizure was part of the CITY'S custom and practice and/or
practice of racial profiling, and/or meeting arrest or summons quotas, and/or the illegal
stop and search of civilians which was authorized by, or met with the tacit approval of
the CITY and NYPD under their “Stop, Question and Frisk” policy or program (“Stop
and Frisk”).

That under the “Stop and Frisk” program the CITY and NYPD permitted, condoned,
or acted with deliberate indifference to the racial disparity of its application, to the fact
that unnecessary or illegal frisks or searches were conducted, that very low
percentages of seizures, frisks and searches resulted in arrests or the recovery of
contraband, that pretextual reasons are provided for “Stop and Frisk”, that officers do
not always fill out Stop and Frisk reports, ie. UF-250s, and are not disciplined when
they fail to do so, that stop and frisks are conducted without reasonable suspicion, and
that the program of “Stop and Frisk” has resulted in illegal stops, seizures, frisks,
arrests and the use of physical force.

That the CITY and NYPD have failed to discipline, train, monitor or retrain offending
police officers; who engaged in stops and frisks without any legal justification and has
failed to discipline police officers who fail to fill out required UF-250s.

That the CITY and NYPD have failed to adequately investigate and/or discipline
officers who use excessive force, stop and frisk innocent citizens who have not done

anything illegal or acted in suspicious manner warranting a seizure, who failed to
55.

report misconduct of fellow officers, who destroy evidence, who engage in fraud,
misrepresentations, deceit, who knowingly arrest individuals whose mere presence in
a location is the only nexus to any type of contraband when same is not in plain view
and the individual has no knowledge of its presence and maliciously participate in and
instigate prosecutions of innocent citizens.

It is alleged herein that Plaintiff NADINE GIBSON was stopped and seized absent
reasonable suspicion. That said actions of defendants were pursuant to an illegal and
improper Stop and Frisk program that was promulgated by defendants. That such
custom, policy and program has created a class of citizens, including Plaintiff
NADINE GIBSON, who have been illegally stopped and seized, searched and
questioned based on their race, and in order to meet arrest quotas. Evidence of said
policy is as follows:

a. That in Floyd v. City of New York, Plaintiffs, who were African-American and
Hispanic individuals were stopped by police pursuant to New York City's
stop-and-frisk policy, brought putative class action against city, under § 1983,
alleging that policy violated their Fourth and Fourteenth Amendment rights
and seeking injunctive relief. 959 F. Supp. 2d 540 (S.D.N.Y. 2013). In Floyd
v. City of New York. The following facts, were discussed in detail and are
uncontested:

i. Between January 2004 and June 2012, the NYPD conducted over 4.4
million Terry stops.The number of stops per year rose sharply from

314,000 in 2004 to a high of 686,000 in 2011.
il.

lil.

iv.

52% of all stops were followed by a protective frisk for weapons. A
weapon was found after 1.5% of these frisks. In other words, in 98.5%
of the 2.3 million frisks, no weapon was found.

8% of all stops led to a search into the stopped person's clothing,
ostensibly based on the officer feeling an object during the frisk that he
suspected to be a weapon, or immediately perceived to be contraband
other than a weapon. In 9% of these searches, the felt object was in
fact a weapon. 91% of the time, it was not. In 14% of these searches,
the felt object was in fact contraband. 86% of the time it was not.

6% of all stops resulted in an arrest, and 6% resulted in a summons.
The *559 remaining 88% of the 4.4 million stops resulted in no further
law enforcement action. In 52% of the 4.4 million stops, the person
stopped was black, in 31% the person was Hispanic, and in 10% the
person was white.

In 2010, New York City's resident population was roughly 23% black,
29% Hispanic, and 33% white. In 23% of the stops of blacks, and 24%
of the stops of Hispanics, the officer recorded using force. The number
for whites was 17%. Weapons were seized in 1.0% of the stops of
blacks, 1.1% of the stops of Hispanics, and 1.4% of the stops of
whites. Contraband other than weapons was seized in 1.8% of the
stops of blacks, 1.7% of the stops of Hispanics, and 2.3% of the stops

of whites.
vi. Between 2004 and 2009, the percentage of stops where the officer
failed to state a specific suspected crime rose from 1% to 36%.
b. The District Court, Honorable Judge Shira A. Scheindlin, J., held that:
i. plaintiffs’ expert was more reliable than City's experts;
ii. officers violated plaintiffs’ Fourth and Fourteenth Amendment rights
in various encounters;
iii. New York City officials ignored obvious need for better supervision,
monitoring, training, and discipline;
iv. City's practices under policy were sufficiently widespread that they
had force of law;
v. plaintiffs provided sufficient basis for inference of City's
discriminatory intent in applying its policy;
vi. policy depended on express racial classifications; and
vii. City officials demonstrated deliberate indifference to equal protection
violations.
viii. Evidence shows that the Stop and Frisk program is organized and
hierarchical;
ix. The program is the result of institutional decisions and directives.
56. Other instances of an illegal and/or improper stop and frisk program custom or
practice and/or excessive use of force and filing of false charges includes but not
limited to:
a. Hickey v. Ward, where substantial evidence supported police commissioner's

determination that officer used excessive force against a citizen, without just
cause, when he pushed citizen, as well as struck him in the face with portable
radio, while trying to effect a stop and inquiry. 161 A.D.2d 495, 555 N.Y.S.2d
763 (1990).

. Arrestee's allegations that he was already in custody and restrained by
handcuffs, showing no attempt to resist, when arresting officer used stun gun
on him were sufficient to state a claim against officer for use of excessive
force in violation of the Fourth Amendment. U.S.C.A. Const.Amend. 4.
Boyden v. Township of Upper Darby, 5 F. Supp. 3d 731 (E.D. Pa. 2014).
Genuine issue of material fact existed as to whether police officers used
excessive force during arrest for unpaid traffic violation fine when they
handcuffed arrestee in the back, pushed him down and kneed him in the back
and leg, ignoring his request to be handcuffed in the front due to having
recently had surgery, precluding summary judgment in officers' favor on
qualified immunity grounds in arrestee's § 1983 action for excessive force in
violation of the Fourth Amendment. U.S.C.A. Const.Amend. 4; 42 U.S.C.A. §
1983. Hunt v. Massi, 5 F. Supp. 3d 160 (D. Mass. 2014).

_ On June 2, 2011 in Bronx, NY, Jesus Rosario, was approached by several
police officers from the 41st Precinct. He was told to “get on the wall” and
thereafter patted down and searched. Mr. Rosario was accused of Trespassing
in the Second Degree. Mr. Rosario was doing nothing illegal or improper at
the time the officers approached as he was simply exiting 1000 Simpson
Street after visiting his father who resides in said building. After being

arrested. Mr. Rosario was subjected to a strip search at the 41st Precinct. The
case was declined to be prosecuted by the District Attorney's Office. Rosario
v. City of New York, 2012 WL 6755553

e. On January 22, 2011 in the vicinity of 808 Park Avenue, Brooklyn, NY,
Captain Michelle Culp, a now retired Captain for New York City Department
of Corrections, was visiting her sick and elderly mother at the aforementioned
address and decided to walk her mother's dog. In so doing, Captain Culp was
approached by several uniform housing police officers and accused of
Trespassing in the Second Degree. She was patted down and searched. This,
despite the fact that Captain Culp explained that she was visiting her mother
and her identification and personal belongings were in her mother's apartment
in the same building. All charges were dismissed. Marcel GRANT, Tyrone
Shields, Gary Castillo, Angel Santiago and Isaiah Santana, Plaintiffs, v. CITY
OF NEW YORK, New York City Police Department, Detective Peter Valentin,
Detective Alberto Pizarro, Detective A nthony Rumph, Lieutenant Joseph
Karakous, Police Officer John Doe and Police Officer John Roe,
Defendant(s)., 2013 WL 5972605 (N.Y.Sup.)

57. Further instances of a pattern of illegal acts, or lack thereof, alone or together with
other factors, on the liability of supervisory officials or government entities for having
failed to adequately train, supervise, or control individual peace officers who violated
a plaintiff's civil rights are as follows:

58. Norton v McKeon (1977, ED Pa) 444 F Supp 384, aff'd without op (CA3 Pa) 601 F2d
575 and aff'd without op (CA3 Pa) 601 F2d 575, infra § 6[a], the court stated that a

mayor and a police chief owed a duty to the public and thus to a § 1983 plaintiff to
59.

60.

provide for training and supervision of police officers, and that such duty included
responding in some positive way to known patterns of illegal activity by the police
department.

See Paton v La Prade (1979, DC NJ) 471 F Supp 166, an action against federal officers
analogous to the right of action one would have against the state official under § 1983,
in which the court stated that the existence of general policies and practices within an
organization can create a constructive knowledge on the part of the supervisor of the
alleged constitutional deprivations and that causation can be established on the fact
that a subordinate's action is an implementation of such policies or practices endorsed
by the supervisor.

In a § 1983 action against a city by an arrestee who was allegedly beaten, threatened,
and coerced by police officers, the court, in Wilkinson v Ellis (1980, ED Pa) 484 F
Supp 1072, held sufficient to state a § 1983 claim against the city an arrestee's
allegations as to the repeated use of brutal and unlawful police methods and the city's
refusal, through the acquiescence of a number of the most highly placed supervisory
police officials, to enforce existing rules or laws prohibiting such conduct. The
arrestee alleged that the city failed properly to train or control its police officers and
had in effect condoned the use of unlawful and brutal police methods by openly and
repeatedly refusing to discipline or arrest officers who violated the law, and further
alleged that certain city police department supervisory officials either had knowledge
of an ongoing pattern of the use of illegal and abusive methods by the police, or were
actually present at some or all of the unlawful interrogations alleged in this case. The

court stated that official inaction, at least in the sense of neglecting to enforce laws
61.

62.

63.

already on the books, could become so entrenched as to qualify as a custom within the
scope of § 1983. Accordingly, the court denied the city's motion to dismiss.

The CITY'S custom and practice and/or practice of racial profiling, and/or meeting
arrest or summons quotas, and/or the illegal stop and search of civilians which was
authorized by, or met with the tacit approval of the CITY and NYPD also extends to
other areas that implicitly or explicitly form a policy or a program that is carried out
and implemented in an egregious, malicious, deliberate, indifferent and
unconstitutional fashion.

The CITY and NYPD on a consistent and constant basis, with or without a valid
search warrant, with or without lawful entry onto private real property or a premises
such as an apartment, unlawfully detain, harass, seize, search, destroy and illegally
remove personal property and thereafter arrest individuals within such a premises who
are neither leaseholders nor owners of said premises and who are only present ina
room on said real property where contraband is not in plain view.

The above must be considered, as the facts herein suggest, when an individual is ina
room ona premises where contraband is not in plain view, it cannot be said, as a matter
of law, that said individual is to be in actual or constructive possession of contraband
nor in possession pursuant to a Penal Law statutory presumption. Nonetheless,
defendants on a consistent and constant basis unlawfully stop, seize, search and arrest
individuals, such as the Plaintiff herein, in such a scenario even though the stop,
seizure and arrest of said individual, including Plaintiff herein, is lacking in reasonable

cause, probable cause or legal justification.
64.

65.

66.

67.

The foregoing acts, omissions and systemic failures are customs and polices of the
CITY and NYPD which caused the police officers herein to falsely arrest, maliciously
prosecute, illegally seize and search the Plaintiff unlawfully, commit an assault and
battery to Plaintiff's person under the belief that said police officers would not suffer
any disciplinary actions for their improper and unconstitutional conduct.

As the same fact patterns are present over the past several years with alarming
frequency, it is apparent and obvious that a pattern by the CITY and NYPD has
developed and is in place demonstrating continued violations of individuals similarly
situated to the Plaintiff herein. The pattern demonstrates either a defacto policy or
custom that exists to allow this behavior by failing to discipline its officers or that this
is a custom of its police officers who have no and/or insufficient training and/or no
proper supervision and/or disciplinary penalties assessed against them for continued
acting in an unconstitutional manner.

That the acts of employees of the CITY and NYPD, i.e. police officers, who violate
the civil and constitutional rights of the citizens of the City of New York routinely go
unreported, undisciplined and their acts condoned by other officers, including their
supervisors. Upon information and belief, the supervisors of defendant police officers
herein were aware of the conduct of defendant police officers and failed to stop, report
or intervene in the misconduct.

In sum, the CITY and NYPD are responsible for creating a custom, policy or practice
wherein many officers do not seem to believe that anything is really wrong with
stopping and searching innocent citizens or using unnecessary or excessive force or

falsely arresting citizens to meet an arrest quota.
68.

69.

70.

71.

72.

That the above customs, polices and/or practices and the deliberate indifference
thereto, was a direct and proximate cause of the illegal seizure of Plaintiff NADINE
GIBSON, the excessive use of force on Plaintiff, and the false arrest and malicious
prosecution of Plaintiff. The CITY and NYPD'S polices, customs and/or practices
deprived the Plaintiff of her rights and liberties as set forth in the Constitutions of the
United States and the State of New York and under 42 U.S.C §§ 1983, 1986 and 1988.
That said actions violated the Fourth and Fourteenth Amendments to the Constitution
of the United States, violated Plaintiffs right to be secure in person, and that the
defendants used excessive, unnecessary and unlawful force, which constituted cruel
and inhumane treatment and denied her due process of law.

Moreover, the CITY and NYPD caused or created a policy and/or custom, and acted
with deliberate indifference to patterns and/or police practices which included illegal
seizures, excessive or arbitrary use of force, illegal use of police equipment,
destruction of evidence, intimidation of witnesses, illegal arrests, failing to gather
evidence when allegations of police misconduct are involved, condoning a code of
silence within the NYPD regarding misconduct, failing to take police reports of illegal
conduct, failing to properly supervise, train, investigate or discipline officers, and any
and/or all of the above have contributed to Plaintiffs false arrest, malicious and false
prosecution, and injuries.

That by reason of the foregoing, Plaintiff NADINE GIBSON has been damaged in an
amount that exceeds the jurisdictional limits of all lower trial courts of this state.

The above actions of defendants CITY, KENNETH SHIELDS, VLAD KOGAN, and

SERGEY ZVONIK resulted in Plaintiff NADINE GIBSON being deprived of the
73.

74.

75.

following rights under the United States Constitution: a) freedom from assault to his
person; b) freedom from battery to her person, c) freedom from illegal search and
seizure; d) freedom from false arrest; e) freedom from malicious prosecution; f)
freedom from the use of excessive force during the arrest process; and g) the right to
due process of law.

In addition to the above, defendant CITY and the NYPD have as a matter of policy,
custom and practice and with deliberate indifference failed to adequately train,
monitor, supervise, discipline, sanction or otherwise direct its police officers,
including the officers involved in this case and any and all unnamed officers involved
in the unlawful seizure and arrest of plaintiff, regarding the protection of the
constitutional rights of citizens.

Defendants CITY, NYPD, KENNETH SHIELDS, VLAD KOGAN, and SERGEY
ZVONIK subjected Plaintiff NADINE GIBSON to such deprivation in a malicious,
reckless, deliberate, intentional, and, a callous disregard of Plaintiff NADINE
GIBSON'S rights and with deliberate indifference to those rights under the Fourth,
Fifth, Sixth, Fourteenth and all other related Amendments to the United States
Constitution.

The direct and proximate result of the defendants CITY, NYPD, KENNETH
SHIELDS, VLAD KOGAN, and SERGEY ZVONIK acts are that Plaintiff NADINE
GIBSON has suffered severe and permanent injuries, loss of liberty and
companionship, forced to endure pain and suffering, emotional distress and severe and

significant dam age to standing and reputation in the community.
76.

77,

That by reason of the foregoing, Plaintiff NADINE GIBSON has been damaged in an
amount that exceeds the jurisdictional limits of all lower trial courts of this state.

Asa proximate result of Defendant, KENNETH SHIELDS’ negligent use of excessive
force, Plaintiff, NADINE GIBSON sustained physical and emotional pain and
suffering and was otherwise damages and injured WHEREFORE, Plaintiff demands

the following relief jointly and severally against all of the Defendants:

a) Compensatory Damages in the amount to be determined by a jury;
b) Punitive Damages in an amount to be determined by a jury
c) Costs and interest and attorney’s fees;

d) Such other and further relief as this Court may deem just and proper.

Dated: August 4, 2016
Brooklyn, New York

Yours etc.,

 

an Figerdux, Esq. for
thé Plaintiff, NADINE GIBSON
FIGEROUX & ASSOCIATES
26 Court Street, Suite 701
Brooklyn, NY11242
718-834-0190
